Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page. of 30

' YS. DISTRICT COURT

AQ 399 (Rev. 10/95) _ BASTERN DISTRICT OF LOUISIANA

WAIVER OF SERVICE OF sumMoNg FILED | OCT 20 2008 | \_J

Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New orldans, IBOREDIAG. WHYTE

{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED porn CLERK
I Travelers Indem CT _ acknowledge receipt of your request
{DEFENDANT NAME}

that | waive service of summons in the action of Commie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION}
which is case number 06-5164 K in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | {or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf i am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand thaf a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after aI a5 | Ow
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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DATE SIGNATURE
SEY 2 8 208 8 Printed/Typed Name:
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ve vy N T a Indem CT
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Buty to Avoid Unnecessary Costs of Service cf Summons

Rubs 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fails to do so will be required to dear tha cost of such service unless good cause be shown for its failure to sign and return tne

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WENT. is not good cause for a failure to waive service thal a party believes that the complaint is unfounded, or that the action haa bean brought in an
improper place or in a court thet lacks jurisdiction over the subject matter of tha action of over Its person or property A party waives service of the summons
retains all det and objections ( t any relating ta the summons or to the service of (ha summons}, and may tater object to the jurisciction of the
courl or te the place whare the action has bean brought.

A defendant who waives service must within the time specified on the waiver farm serve on the plaintiif's attomey (or unrepresented plaintiff) a
response to the complaint and must alse file 4 signed copy of the response with the court. If the answar or motion is net served within this time, a default
judgment may he taken against that defendant By waiving service, a cefandant is allowed more time te answer than if the summons had been actually
served when the raquest for waiver of service was received.

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_.. CtRmDep

— Doc. No__

Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 2 of 30

AO 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To, Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Independant MutFir . acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
for the Eastern District of Louisiana

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by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

I {or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after F [a5 fol
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

SERVED ON ely
ELEN CUMBO 7 ¥

SEP Z 6 2006 Printed/Typed Name:

CATE

SIGNATRE

of Independant MutFir

STRAAOR
cht OMINIRL DIVISION (TITLE) (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant jocated in the United States who, after baing notified of an action and asked by a plaintiff located in the United States to waive
service of 4 summons, fails to do so will be sequined to bear the cast of such servica unless good cause be shown for its failure to sign and retum the

fe
ieee eis not good cause for a failure to waive serviee that a party believes that tha complaint is urfounded, or that the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or property A party waives service of the summons
retains all def and objecti f pt any relating to the summons or to the service of the summons}, and may later object to the jurisdiction of the
court or ba the place where ihe action has been brought.

4 defandant who waives service must wilhin ihe lima specified on ihe waiver form serve on the plaintiff's atomey (or unrepresented plaintiff) a
response to ihe complaint and must also file a signed copy of the response with the court. Hf the answer or motion is not served within this time, a default
judgment may be taken against that defendant, By waiving service, a defendant is allowed more time to answer tian if Ute summons had been actually
served when the request for waiver of sarvica was received.

Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 3 of 30

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AQ 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Streat, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Allstate Fire
(OEFENDANT NAME)

, acknowledge receipt of your request

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can retum the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf! am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after G a) > 6 G
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

DATE SEP

OMMERS AS of Allstate Fire
(FITLE) (CORPORATE DEFENDANT)

Duty to Avold Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of tha summons and
complaini A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in ihe United States te waive
service of a summons, faits to co so will bs requived tc bear the cost of such servica unless good cause be shown for its fallura te sign and retum bis
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ratains all defenses and objections (except any relating to the summons or to the service of the summons), and may tater object te the jurisdiction af the
court of to the place where the action has been brought

A defendant who waives service must within ihe time specified on ihe waiver form serve on tha plaintiff's attomay (or unrepresented plaintiff) a
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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 4 of 30

AG 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

| Horace Mann Prop , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Comnie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can retum the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the compiaint in this
lawsuit by not requiring that | (or the entity on whose behalf 1 am acting) be served with Judicial process in
the manner provided by Rule 4.

| (or the entity on whose behaif | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting) .

if an answer or motion under Rule 12 is not served upon you within 60 days after BIldS1OU
{DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

ERVED ON
HELEN CUMBO

DATE SEP 9. 9008 SUAATURE

OR
cesar of Horace Mann Prop

MM E Ch Al. (TITLE) {CORPORATE DEFENDANT)

Outy to Avold Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires cerlain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after being natified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fats to do so will be required ta bear the cost of such service unless good cause be shown for its failure to sign and retum the

Mer is not good cause for a failure to waive servica that a party believes that tha compiaint is unfourked, of that the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of tha action or aver iis person or property A party waives service of ihe summons
retains all defanses and objections {axcapt any relating to the summons cr to the service of tha summons}, and may later object te the jurisdiction of the
court of to the place where the action has been brought

A defendant who waives servica must within ihe time specified on the waiver form serve on the plaintif's attomey (or unreprasanted plainttf) a
response t¢ the complaint and must alse file a signed copy of ihe response with the court. If the answer or motion is not served within this time, a default
judgment may be taken against thal defencant. By waiving sarvica, a defendant is allowed more fime to than ifthe had been actually
served when the request for waiver of service was received.

Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 5 of 30

AQ 399 (Rav. 10495)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, iA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

| Voyager Prop InsCo , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, atal |

(CAPTION GF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

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{DATE REQUEST WAS SENT}

or within 90 days after that date if the request was sent outside the United States.

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HELEW eb wn 6
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§ Ep g 6 2 008 Printed/Typed Name:

DATE

A D Voyager Prop InsCo
CoM meen IS TR A¥6 (TITLE) of “CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties ta cooperate in saving unnecassary costs of service of the summons and
camplaint, A defendant located in the Unitad States who, after being notified of an action and asked by a plaintiff localed in the United States to waive
service of a summons, fails to do so will be required to bear the cost of such servica unless good cause be shown for its failure to sign and return the
‘2ST: iis not good cause for a failure to waive service that a party beliaves that the complaint is unfounded, or thet the action has been brought in an
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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 6 of 30

AG 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

I American Security , acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION GF ACTION)
which is case number 06-5164 in the United States District Court
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qDaT# REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

SERVED ON
HELEN CUMBO / De, (obe

Printea Ohtake 2006

As ADMINISTRATOR American Security
COMMERGIAL DIVISI oh (CORPORATE DEFENDANT)

Duty to Avold Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rutes of Civit Procedure requires certain parties to cooperate in saving unnecessary costs of service af the summons and
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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 7 of 30

AO 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

FO: Joseph M. Bruno, 655 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

| 4urich Bermuda
(QEFENDANT NAME)

, acknowledge receipt of your request

that | waive service of summons in the action of Commie Abadie, et al v. Aegis, etal |

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which is case number 06-5164 in the United States District Court
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(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

SERVED ON

HELEN CUMBO debe. (| p

DATE SEP 2 § 7008 SIGNATURE

Printed/Typed Name:
ADMINISTRATOR .
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Duty to Avold Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rutes of Civil Procedure requitas certain parties t¢ cooparate in saving unnecessary costs of service af the summons and
complaint. A defendand located in the United States who, afier baing notified of an action and asked by a plaintiff located in tha United States to waive
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served when the request for waiver of sarvice was racelved,
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 8 of 30

AO 389 (Rev. 10/05)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

I American ZurichIns
{DEFENDANT NAME)

, acknowledge receipt of your request

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION}
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
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(DATE REQUEST WAS SENT)

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HELEN CUMBO Y
DATE SEP 26 2A88 ae . =
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As COMMERCIAL DIVISION can Zurichins
(TITLE) (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecassary costs of servica of the summons and
complaint A defendant located in the United States who, efter belng notified of an action and asked by a plaintiff located In the United States to waive
service of a Summons, fails ta do so will be required to bear the cost of such service unless good cause ba shown for its failure te sign and return the
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served when the request for walver of service was received,
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 9 of 30
AO 300 (Rew. 1095)
WAIVER OF SERVICE OF SUMMONS

TO: Joseph M. Brune, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I Southwest Bus Corp
{DEFENDANT NAME}

, acknowledge receipt of your request

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(QOCKET NUMBER)
for the Eastern District of Louisiana

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if an answer or motion under Rule 12 is not served upon you within 60 days after a aD | ov
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or within 90 days after that date if the request was sent outside the United States.
HELEN CUMBO
DATE SEP ? 5 7O0Bsicnatune
ag __COMMERCIAL DIVIS|ONsouthwest Bus Corp
(TITLE) {CORPORATE GEFENDANT)

Duty to Avold Linnecessary Costs of Service of Summons

Rule 4 of the Federal Rutes of Civil Procedure requires certain parties to cooperate in saving unnesassary costs of service of the summons and
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served when the request for waiver of service was received.

Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 10 of 30
AO 269 (Rev 10785}
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I American Southern _ acknowledge receipt of your request
{DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
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or within 90 days after that date if the request was sent outs @ United States.
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(TITLE} (CORPORATE DEFENDANT)
Duty to Avoid U: 'y Costs of Service of Summons

Rule 4 of the Fedaral Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the Unied States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fails to do so will ba required to bear the cost of such service unlass good cause be shown for its failure ta sign and retum the

‘IL is not good cause for a failure to waive service that a party betleves that tha complaint is unfounded, or that the action has been brought in an
improper place or in a court that lacks jurisdiction over tha subject matter of tha action of over its persen or property A party waives service of ihe summons
retains all defenses and objections (axcept any relating to the summons cr to the service of tha summons), and may fater object to the jurisdiciicn of the
court of to the place where fhe action fas been brought.

A defandant who waives service must within the time specified on the waiver farm sarve on the plaintif's attommey (or unrepresented plaintiff) a
response to the complaint and must alse file a signed copy of the response with the court. If the answar or motion is not served within this time, a default
judgment may be taken against that defencant. By waiving service, 4 defandant is allowed more time tc answer than if the summons had been actually
served when the requast for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 11 of 30

AQ 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To, Joseph M. Bruno, 855 Baronne Streat, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Scottsdale Ins Co , acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal —

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return fhe signed waiver to you without cost fo me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that i (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after Af. 25/0 :
{DATE REGUEST WAS SENT}

or within 90 days after that date if the request was sent outside the United States.

SERVED ON
HELEN CUMBO

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COMMERCIAL DIVISION

As of Scottsdale Ins Co
(TITLE} (CORPORATE DEFENDANT}

DATE

Duty to Avoid Unnecessary Coste of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service cf a summons, fails to do so will ba raquired to bear the cost of such service unless Good cause ba shown for its failure io sign and retum the

ee is nat good cause for a failure to waive service that a party believes that the complaint Is unfounded, of that the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of tha action or over its person or property A party waives service of the summons
retains all defenses and objections (except any relating to the summons or to the sarvice of tha summons], and may fater object ta the jurisdiction of the
court of to the place where the action has been brought.

4 defandant who waives service musi within the tima specified on tha waiver form serve on the plaintiffs attomey (or unrepresented plaintiff) a
responga io ihe complaint and must also fila a signed copy of the response with the court. Hf ihe answer or motion is not served within this tims, a defaull
judgment may be taken against that defendant By waiving service, a defendant is allowed more time to answer than if the summons had been actually
served when the request for waiver of service was raceived,
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 12 of 30

AQ 299 (Rev, 10/95)

WAIVER OF SERVICE OF SUMMONS
Jeseph M. Bruno ,

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME GF PLAINTIFFS ATTORNEY OR UNREPRESENTED PLAINTIFF}

Hanover Am Ins , acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTIGN)
which is case number 06-5164 in the United States District Court
{DOCKET NUMBER} :
for the. Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf i am acting) be served with judicial process in
the manner provided by Rule 4.

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service of the summons.

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(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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* (TITLE) (CORPORATE DEFENDANT}

Duty to Avoid Unnecessary Coste of Service of Summons

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service of a summons, fails to do so will be required to bear tha cost af such service unless good cause be shown for its failure to sign and return the
waiver.

Itis not good cause for a failure ta waive service that a party believes that the complaint is unfounded, or that the action has been brought in an
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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 13 of 30

AO 399 (Rev. 10/95}

WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

] Zurich Am Ins , acknowledge receipt of your request
(DEFENDANT NAME}

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(CAPTION OF ACTION}

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(DOCKET NUMBER)
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the manner provided by Rule 4.

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the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
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or within 90 days after that date if the request was sent outside the United States.

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Duty to Avold Unnecessary Costs of Service of Summans

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served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 14 of 30

AO 399 (Rev. 10/85)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

1 American Ins Co _ acknowledge receipt of your request
{DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al _v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

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the manner provided by Rule 4.

! (or the entity on whose behalf | am acting) will retain ail defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

i understand that a judgment may be entered against me (or the party on whose behaif | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 4, 25164
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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DATE

American Ins Co
{TITLE} _ [CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs cf servica of the summons and
complaint, A defendant located in the United States wha, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, Fails te do so will ba required to bear tha cost af such service unless good cause de shown for its failure to sign and retum the
waver. His nol good cause for a failure to waive service thal a party believes that the complaint is unfounded, or that the action has been brought in an
Improper place or in a court that lacks jurisdiction over the subject matter of tha action or over iis person or proparty A party waives service of ihe summans
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A defendant who waives service must within ihe time specified on the waiver form serve on the plaintiff's attormey (or unreprasanted plaintiff) a
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served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 15 of 30

AO 900 (Fev. 1096)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

i Hartford Accident _ acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can retum the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after oF | as [Oe
(DATE REQUEST WAS SENT)

or within $0 days after that date if the request was sent outside the United States.

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Printed/Typed Name:
As ADMINISTRATOR ‘Hartford Accident
COMMERCIAL BIVISION (CORPORATE DEFENDANT)

Duty to Avold Unnecessary Costs of Servica of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecassary costs of service of tha summons and
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A defendant who waives service must within the time specified on ihe waiver form serve on ihe plainiiff's attorney (or unrepresented plaintiff) a
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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 16 of 30
AO 399 (Rev 10195)
WAIVER OF SERVICE OF SUMMONS

TO; Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I Safeco InsCo of Am , acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
{DGCKET NUMBER}
for the Eastern District of Louisiana

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by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
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the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after A [a 5 | by ,
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or within 90 days after that date if the request was sent outside the United States.

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COMMERCIAL DIVISIQNeco tnsco of am

(TITLE) {CORPORATE GEFENDANT)

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Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of tha Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint, A defandant located in the United States who, after being notified of an action and asked by 9 plaintiff located in ihe United States to waive
service of a summons, fails to do so will be required ta bear the cost of such service unless good cause be shown for its fatlura to sign and retum the

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A defendant who waives service must within the tima specified on tha waiver form serve on the plaintiff's attomey (cr unrepresented plaintiff} 9
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served when the request for waiver of sarvice was received.
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 17 of 30

AO 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

! travelers Excess , acknowledge receipt of your request
{DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)

which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)

for the Eastern District of Louisiana

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service of the summons.

1 understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 4 25 fs Ole
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or within 90 days after that date if the request was sent outside the United States.

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OMMERCIAL DIVISION of Travelers Excess

(TITLE) {CORPORATE DEFENDANT)

Printed/Typed Name:

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rutes of Civil Procedura requitas certain parties io cooperate in saving unnecessary casts of service of the summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by 4 pfaintiff located in tha United States to waive
service of a summons, fails to de 50 will be required to bear the cast of such service unless good cause be shown for its failure to sign and reiun: the
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wer It is not good cause for a failure to waive service that = party believes that the complaint is unfounded, or that the action has ®8en brought in an
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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 18 of 30

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AQ 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS
Joseph M, Bruno

To: doseph M, Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

! Stonington Ins Co , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the actionof Commie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
{DOCKET NUMBER}
for the. Eastern District of Louisiana

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by which | can return ihe signed waiver to you without cost fo me.

1 agree to save the cost of service of a summons and an additional copy of the complaint in this
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(DATE REQUEST WAS SENT)

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A D M Printed/Typed Name-
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CoMmenN i, ye ATO ps of Stonington Ins Co
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Duty to Avoid Unnecessary Coste of Service of Summons

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yy Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 19 of 30

AO 390 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

| Encompass Ins. , acknowledge receipt of your request
(GEFENDANT NAME)

that | waive service of summons in the action of Commie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
for the Eastern District of Louisiana

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or within 90 days after that date if the request was sent outside the United States.

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A D M Tinted/Typed Name:
I
COMMERCISARATOR of __Encompass Ins.

WISION — ITLe) (CORPORATE DEFENDANT}

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties te cooperate in saving unnecessary costs of service of the summons and
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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 20:of 30
AQ 399 (Rev. 10/95}
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| AIG National Ins

, acknowledge receipt of your request
(DEFENDANT NAME)

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(CAPTION GF ACTION)
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by which | can return the signed waiver to you without cost to me.

i agree to save the cost of service of a summons and an additional copy of the complaint in this

lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| {or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after gq 2 Ob
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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{TITLE} (CORPORATE DEFENDANT)

Duty to Avold Unnecessary Costs of Service of Summons

Rul 4 of the Federal Rules of Civil Procedure requires certain parlies to cooperate in saving unnecessary costs of service of tha summons and
complaint. A defandant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fails to de sa will be required to bear the cost of such service unlass good cause be shown for its failure to sign and ratum the
waver. His not good cause for a failure to waive service thal a party balisves that tha complaint is unfounded, or that the action has been brought in an
improper place or in a court that lacks jurisdiction over ihe subject matter of the action or over ils person ar property A party waives service af ihe summons
retains all defenses and oblections (except any relating to tha summons or to the service of the summons}, and may later object to the jurisdiction af the
court or te the place where the action has been brought.

Adefendant whe waives service must within the time specified on tha waiver form serve on the plaintiff's attomey {or unrepresented plaintiff) a
response ta the complaint and must also fite a signed copy of tha response with the court. If tha answer or motion is nat served within this time, @ default

judgment may ba taken against that defendant. By waiving service, a defendant is allowed more time to answer than if the summons had been actually
served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 21 of 30

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AQ 399 (Rev. 40/95)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Bankers Multiple , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Commie Abadie, et al_v. Aegis, etal |
(CAPTION OF ACTION}

which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting} be served with judicial process in
the manner provided by Rule 4.

| {or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

1 understand that 4 judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after Fh 25/0 G
(DATE REQUEST WAS SENT}

or within 90 days after that date if the request was sent outside the United States.

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Duty te Avoid Unnecessary Costs of Service of Summons

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complaint, A defendant located in the United Statas who, after being notified of an action and asked by a plaintiff located in the United Stetes to waive
service of a summons, fails to do se will ba required to bear the cost of such service unless good cause be shown for its failure to sign and return the
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His not good cause for a failure to waive service that a party baliaves that tha complaint is unfounded, or that the action has been brought in an
Improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or praparty A party waives service of the summans
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courl or to the place where the action has been brought

A defendant whe waives service must within the time specified on the waiver form serve on ihe plaintiff's attorney (or unrepresented plaintiff) a
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judgment may be taken agains! ihat defendani By waiving service, a defendant is allowed more time to answer than If the summons had been actually
served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 22 of 30
Av 200 Rev 10185
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, &55 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

i National Fire&Indm , acknowledge receipt of your request
{DEFENDANT NAME}

that | waive service of summons in the action of COmmie Abadie, et al v. Aegis, etal |

{CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

[ have alse received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

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service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 4G { aS | Lp
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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DATE . SEP ? 6 7006 SIGNATURE
Printed/Typed Name:

As ADMINISTRATOR f National FireéIndn
COMMERCIAL OHASION {CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff [ocated in the United States to waive
service of a summons, fails to do 30 will be required to bear the cost of such service unless good cause be shown for its failure to sign and retum the

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Ibis not good cause for a failure to waive service that a party believes thet the complaint ie unfounded, or thet the action has been brought in an

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A defendant who waives service muat within the time specified on the waiver form serve on the pfainiiff's attomey (or unrepresented plaintiff) a
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Judgment may be taken against that defendant. By waiving sarvica, a defendant is allowed more time to answer than # dha summons had been actually
served when the request for waiver of service was received,
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 23 of 30

AG 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, &55 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I Matro Group Prop , acknowledge receipt of your request
{DEFENDANT NAME)

that | waive service of summons in the action of COMnie Abadie, et al v. Aegis, etal
(CAPTION GF ACTION}

which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
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| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

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AD Mi IN ISTRATOR Metro Group Prop
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Duty to Avold Unnecessary Costs of Service of Summons

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complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff focated in the United States bo waive
service of a summons, fails to do so will be required to bear the cost of such servica unless good cause be shown for its failure to sign and retum tha
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Ibis not good cause for a failure to waive sarvica that 4 party believes that the complaint is unfounded, or that the action has beer brought in an
improper place or ina court that lacks jurisdiction aver the subject matter of the action or over ifs person or property 4 party waives service of the summons
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court of ta ths place where ihe action has been

A defandant who waives service must within the: time specified on the waiver form serve on the plaintiff's attomey (or unrepresented plaintiff) a
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- Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 24 of 30

AQ 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, §55 Baronne Street, Naw Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

I Harleysville Mutua
{DEFENDANT NAME}

_ acknowledge receipt of your request

that | waive service of summons in the action of Connie Abadie, et al _v. Aegis, etal |

(CAPTION OF ACTION}
which is case number 06-5164 in the United States District Court
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(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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(TITLE) (CORPORATE DEFENDANT)

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Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires ceclain parties to cooperate in saving unnecessary costs of service of tha summons anc
complaint. A defendant located in the United States wha, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fails to do so wil! be required to bear the cost of such service unless good cause be shown for its failure io sign and return the
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improper place or in a court that lacks jurisdiction over the subject matter of the action or aver its person or property A party waives service of the summons
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JA defendant who waives service must within the time specified on the waiver form serve on the plaintiff's attamey (or unrepresented plaintiff) a
response to the complaint and must also file a signed copy of the response with the court Ifthe answer or motion is nol served within this time, a defautt
judgment may be taken against that defendant. By waiving service, a defendant is allowed more tima to answer than if the summons had been actually
served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 25 of 30

AO 399 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

JO: Joseph M. Brune, 855 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I Rarleysville Ins

, acknowledge receipt of your request
{DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)

which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)

for the Eastern District of Louisiana

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service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting}

if an answer or motion under Rule 12 is not served upon you within 60 days after q 2S | Ole

(DATE REQUEST WAS SENT)
or within 90 days after that date if the request was sent outside the United States.
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ne ___ COMMERCIAL DIVISIONyarreysvitle Ins
(TITLE} (CORPORATE DEFENDANT}

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rutes of Civil Procedure requiras cartain parties to cooparate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after baing notified of an action and asked by a plaintiff located in tha United States to waive
service of a summons, fails to do so will be required to bear the cast of such service unless good cause be shown for its failura to sign and retum the

waner, Kt ig not good cause for a failure to waive service that a party believes thal ihe complaint is unfounded, or thal the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of the action or aver its persan or property A party waives service of the summons
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court or bo the place where the action has been Sreught.

A defendani who waives sarvice must within the time specified an the waiver form serve on the plaintt?'s attomey {or unrepresented plaintiff} a
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judgment may be taken against that defendant By waiving service, a defendant is allowed mora time to than if the s: 1s had been actually
served when the request for waiver of service was racelved,

Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 26 of 30

AO 399 (Rev. 10/85)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Streat, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

National Ins Assn , acknowledge receipt of your request
(QEFENDANT NAME)

that | waive service of summons in the action of Commie Abadie, et al v. Aagis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DGCKETF NUMBER}
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can retum the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional! copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

I (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 9 fo StOG
{DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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Printed/Typed Name:

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(TITLE) (CORPORATE DEFENDANT)

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Duty ta Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant iocated in tha United States who, after being notified of an action and asked by a plaintiff located in tne United States to waive
service of a summons, fails 10 do so will be required to bear the cast of such service untess good cause be shown for its failure to sign and retum the
waiver.

Ikis not good cause for a failure to waive service that a party bali that the complaint is unfounded, or that brs action has been brought in an
improper place o¢ in a court that lacks jurisdiction over the subject matter of the action or over its person or property A party waivas service of the summons
retains all dat and objections { et any refating to the summons or to the service of the summons}, and may later object ic the jurisdiction of the
court of to the place where ihe action has bsen brought

4 defendant wha waives service must within the time specified on the waiver form serve on tha plaintif’s attomey (or unrepresented plaintiff) a
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served when the request for waiver of service was received.

Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 27 of 30

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AQ 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I Republic Mort Ins
{DEFENDANT NAME)

, acknowledge receipt of your request

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION}
which is case number 06-5164 in the United States District Court
{DGCKET NUMBER}
for the Eastern District of Louisiana

| have also received a copy of the compiaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
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the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
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1 understand that a judgment may be entered against me (or the party on whose dehalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after
{DATE REQUEST WAS SENT}

or within 90 days after that date if the request was sent outside the United States.

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HELEN CUMBO b nb

DATE SIGNATURE
Panos SEP -2 6 2008
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As Ae I t y tS T F U7 i or (CORPORATE DEFENDANT)

COMMERCIAL DIVISION

Duty to Avold Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civit Procedure requires certain parlies to cooperate in saving unnecessary costs of service of the summons and
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A defendant who waives service must within the time specified on ihe waivar form sarve on the plaintiffs attomey (or unrepresented plaintiff) a
tesponse to the complaint and must alse file a signed copy of the response with the court. If the answer or motion is not served within this time, a default
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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 28 of 30

AQ 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, &55 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I National Lloydsins , acknowledge receipt of your request
{DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal —

(CAPTION GF ACTION).
which is case number 06-5164 in the United States District Court
(DOCKET HUMBER)
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Printed/Typed Name:
he Ao ett Divs tional LloydsiIns
——COHIER CAL) TS TSORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

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Case 2:05-cv-04182-SRD-JCW Document 1435 Filed 10/20/06 Page 29 of 30

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AO 399 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno , 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFE'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

Balboa Ins Co , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Commie Abadie, et al_v. Aegis, etal |
(CAPTION OF ACTION)

which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

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or within 90 days after that date if the request was sent outside the United States.
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(TIFLE} (CORPORATE DEFENDANT)

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response to the complaint and must alse file a signed copy af the response with the court. If the answer or motion is not served within this time, a default
judgment may be taken against that defendant. By waiving service, a defendant is allowed more time to answer than ¢f the summons had been actually
served when the requast for waiver of service was recelved.

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AO 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

fo: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

1 Financial Guar Ins , acknowledge receipt of your request
(DEFENDANT NAME}
that I waive service of summons in the action of Commie Abadie, et al v. Aegis, etal.
(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern : District of Louisiana

t have also received a copy of the complaint in the action, two copies of this instrament, and a means
by which I can retum the signed waiver to you without cost to me.

l agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsull by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

I (or the entity on whose behalf t am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

i understand that a judgment may be entered against me {or the party on whose if | am acting}

if an answer cr motion under Rule 12 is not served upon you within 60 days after

or within 90 days after that date if the request was sent outside the United States.

efinfoo [W :

SIGNATURE
Printed/Typed Name: Dawt er TU Ceara

As ATORWES of Financial Guar Ins
{TTLE} (CORPORATE DEFENDANT)

Duty to Avold Ueaacesamy Costs of Service of Susnmnons

Rute 4.0f the Federal Rides of Civil Procedure requires certain parties to cooperate in seving unnecestary coats of service of the summons and
complaint. A datancirt tocated tn Sve United Btates wi: ner being totiied of sn econ gre ented by a plain ented in bes Ursana Seaton teeta
Service of a summons, fale to do 50 wil be required $0 bear the cost of such service unless Qood touts be shown for ite fafure to sign and retum dhe

“Its mot good cause for a talkies to waive service that « party bolieves thet the complaini !s unicunded, or het the scion has been brought in an
improper place or ita court that tacks 4 over the subject matter ef the action of over ke person or property A party wolves sanvice of the summons
fetzins ail defenses end objections (exept ary relating so the Eursmonis or to the service of fhe sumone}, and may Inler object to vw juriacicon af ve
court or to the place where the action hes bean brought.

A defendant who waives servica must within the Ee specified on ihe waiver fonn sénve on dre piainilif's attomey dor unrepresented plaintiff] a
Tespones to the compisind end must aio fie @ signed copy of the respones with Be-courl ive anwar or motion 2s nol served within this time, 2 default

f nary be taken ag: tira ci By waiving nervice, a defendard /s. allowed mors time to enéwer than if the summons had been actualy
s0rved when thes request for waiver of service wit received,

